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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :         Chapter 11
                                                               :
RUNWAY LIQUIDATION                                             :         Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,1                                        :
                                                               :         Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :
                                                               :         Adv. Pro. No. 17-01101 (SCC)
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                        SCHEDULING STIPULATION RELATING
                    TO MOTION FOR ORDER ALLOWING IMMEDIATE
                  REGISTRATION OF JUDGMENT IN ANOTHER DISTRICT

         This Scheduling Stipulation is entered into by and between plaintiff, David MacGreevey,

solely in his capacity as plan administrator in the above-captioned chapter 11 cases (“Plaintiff”)

and Defendant NYAM, LLC (“Defendant”).

         WHEREAS, on May 20, 2019, Plaintiff filed its Motion For Order Allowing Immediate

Registration of Judgment In Another District (the “Motion”) [Docket No. 49]; and

         WHEREAS, Defendant’s deadline to respond to the Motion was June 6, 2019 (the

“Response Deadline”); and


1
    A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
    Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
    Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation,
    LLC (9200); and MMH Liquidation, LLC (3854).


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        WEHREAS, the hearing on the Motion (the “Hearing”) is currently scheduled to take

place on June 12, 2019 at 11:00 a.m. (the “Hearing Date”); and

        WHEREAS, the parties have agreed to extend the Response Deadline and adjourn the

Hearing Date:

        IT IS HEREBY STIPULATED AND AGREED THAT

        1.        The Response Deadline is extended through June 20, 2019.


        2.        Defendant shall not file at any time prior to June 20, 2019 in any court any motion

to stay the enforcement of the judgment rendered in the above-captioned adversary proceeding.


        3.        Plaintiff shall file any reply in the support of the Motion on or before June 24,

2019.


        4.        A hearing on the Motion shall take place on June 26, 2019 at 11:00 a.m.


 Dated: June 6, 2019                                    Dated: June 6, 2019


 GRIFFIN HAMERSKY LLP                                   PACHULSKI STANG ZIEHL & JONES
                                                        LLP

 /s/ Michael D. Hamersky                                /s/ Beth E. Levine
 Scott A. Griffin                                       Robert J. Feinstein
 Michael D. Hamersky                                    Bradford J. Sandler
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 Counsel to NYAM LLC                                            blevine@pszjlaw.com

                                                        Counsel to the Plan Administrator




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SO ORDERED:

June 10, 2019

/S/ Shelley C. Chapman
HONORABLE SHELLEY C. CHAPMAN
UNITED STATES BANKRUPTCY JUDGE




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